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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re:                                                         Chapter 11

OTR MEDIA GROUP INC.,                                          Case No. 1-11-47385 (ESS)

                                    Debtor.
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       FINAL APPLICATION OF NOVACK BURNBAUM CRYSTAL LLP AS
    DEBTOR’S SPECIAL COUNSEL FOR ALLOWANCE OF COMPENSATON FOR
     PROFESSIONAL SERVICES RENDERED AND FOR REIMBURSEMENT OF
              ACTUAL AND NECESSARY EXPENSES INCURRED

TO:     THE HONORABLE ELIZABETH S. STONG,
        UNITED STATES BANKRUPTCY JUDGE:

        OTR Media Group Inc., debtor and debtor-in-possession (the “Debtor”), by and through

its counsel Goetz Fitzpatrick LLP, hereby submits this application on behalf of Novack

Burnbaum Crystal LLP (sometimes referred to herein as “NBC”), as the Debtor’s special counsel

(the “Application”), pursuant to §§330(a) and 331 of title 11, United States Code (the

“Bankruptcy Code”) and Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), for allowance of final compensation for professional services performed

and for reimbursement of expenses made on behalf of the Debtor for the period between August

25, 2011 and November 19, 2013 (the “Final Period”). In support of the Application, the Debtor

respectfully represents as follows:
                                   I.     RELIEF REQUESTED

         1.    By this Application, the Debtor seeks entry of an order awarding final

compensation to NBC, as special counsel for the Debtor, and authorizing final payments in the

sum of $92,318.14 for fees for professional services rendered during the Final Period.

         2.    This Application includes a request for (a) payment of the holdback in connection

with NBC’s first interim application (the “NBC First Interim Application”) covering the period

August 25, 2011 through July 20, 2012 (the “NBC First Interim Period”) in the amount of

$22,549.61 (the “First Holdback”); (b) payment in the amount of $30,115.97 in connection with

NBC’s second interim application, which was filed on August 29, 2013 (ECF No. 507, the “NBC

Second Interim Application”) but was not previously adjudicated by this Court; (c) payment of

all prior holdbacks from the monthly payments authorized under the OCP Order (as defined

below); and (d) final approval of the fees previously awarded to NBC throughout this chapter 11

case.

                             II.        JURISDICTION AND VENUE

         3.    This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§

157 and 1334. This is a “core” proceeding pursuant to 28 U.S.C. §159(b). Venue of these

proceedings and over this Application are proper in this district pursuant to 28 U.S.C. §§1408

and 1409.

         4.    The professional services for which allowances are sought by NBC in this

application were rendered on behalf of the Debtor.

         5.    NBC maintains records of the time it has expended for professional services on

behalf of a client, as well as records for expenses that were paid on behalf of a client.




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          6.   NBC’s time records were made concurrently with the rendition of the professional

service rendered for the benefit of the Debtor. Each time entry made by NBC is reflected on

Exhibit “A” annexed hereto.

                              III.   PROCEDURAL HISTORY

          7.   NBC initially applied for retention as part of the Debtor’s application to retain

ordinary course professionals on November 15, 2011 [See ECF No. 51, the “OCP Application”].

          8.   NBC did not and has not received any pre-petition or post-petition retainer from

or on behalf of the Debtor.

          9.   The OCP Application was opposed, then adjourned to permit the parties-in-

interest to reach agreement on the terms and scope of OCP retention.

         10.   NBC, which was at the time representing the Debtor in an appeal before the

Appellate Division, needed assurance that it would be authorized to continue such representation

at the appeal hearing scheduled for December 2011.

         11.   Accordingly, Debtor’s counsel consulted with the Office of the United States

Trustee. The decision was made to submit a separate retention application on behalf of NBC

alone.

         12.   The application to employ NBC was filed on December 2, 2011 [ECF No. 62] and

granted on December 6, 2011 [ECF No. 65], though, at the time, NBC had not requested

compensation during these proceedings.

         13.   On April 24, 2012, the Court granted the OCP Application and issued an Order

Authorizing the Debtor to employ professionals – including, inter alia, NBC – used in the

ordinary course of business [ECF No. 128, the “OCP Order”].




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        14.    The OCP Order capped NBC’s monthly compensation at $6,000 per month,

regardless of the amount of services NBC provides to the Debtor each month.

        15.    On July 19, 2012, the Debtor filed the first interim application for compensation

on behalf of NBC for the period between the Petition Date and June 30, 2012 [ECF No. 212].

        16.    On September 4, 2012, the Court entered an Order [ECF No. 256] granting

NBC’s first interim application and thereby authorizing the Debtor to pay NBC 70% of the total

fees sought in the first interim application and 100% of the expenses sought in the first interim

application.

        17.    In February, March, April and May and June 2013, NBC submitted compensation

requests pursuant to the OCP Order [ECF Nos. 323, 352, 370, 409, and 441, respectively] for the

amount of its fees up to the monthly cap provided by the OCP Order.

        18.    The OCP Order provides that the Debtor is authorized to pay 80% of the fees

requested by a compensation request, provided that no party-in-interest objects.

        19.    No party objected to NBC’s compensation requests. Accordingly, NBC was paid

approximately $4,800 for each $6,000 compensation request.

        20.    NBC now seeks the Court’s approval of its compensation for the Final Period,

covering amounts that were not billed pursuant to the OCP Order.

                          IV.     DEBTOR’S SPECIAL COUNSEL

        21.    NBC is a full-service law firm that is focused on transactional matters and

complicated court cases for businesses and individuals in diverse areas of the law, including

regulatory law, complex corporate transactions, commercial law, and real property law. The

attorneys of the firm have significant litigation and transactional expertise and have handled

many regulatory proceedings and asset sales.



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          22.   The professional services that NBC was intended to perform on behalf of the

Debtor include the litigation of matters of regulatory law including (i) a certain Article 78

proceeding for the Debtor’s sign at 174 Canal Street in New York State Supreme Court; (ii) an

appeal of certain violations on the Debtor’s sign at Covenant House; certain appeal relating to

the Debtor’s sign at 838 Sixth Avenue; (iii) advice involving the Debtor’s sign at 59 4th Avenue;

(iv) other litigation involving signs; and (v) involvement with general regulatory matters

involving the Debtor’s sign locations including a sign at Walter Avenue, Bronx, New York.

                             IV.       FACTUAL BACKGROUND

          23.   On August 25, 2011, the Debtor filed a voluntary petition for relief under chapter

11 of the Bankruptcy Code. The Debtor is operating its business and managing its property as a

debtor-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

          24.   No trustee, examiner or committee of creditors has been appointed in this case.

          25.   The Debtor is a full service outdoor advertising company as defined by the New

York City Administrative Code, now in its second decade of operation. The Debtor provides

bulletins, wallscapes and spectaculars in prime real estate locations covering the New York City

market.     The Debtor also provides media sales and billboard maintenance services to its

advertising clientele.

          26.   The Debtor’s chapter 11 filing was precipitated by, among other things, fines and

legal expenses in connection with New York City’s promulgation and enforcement of zoning

regulations that effectively banned the Debtor from maintaining certain signs (the “Sign Laws”).

The fines, legal expenses, and loss of revenue has severely interfered with the Debtor’s

relationship with landlords of various buildings which are used to place outdoor signs.

The City’s enforcement scheme has restricted the Debtor’s available advertising sources and



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created substantial cash flow issues since the City served restraining notices on the Debtor’s

clients.

           27.   The chapter 11 filing was elected to obtain the benefits of the automatic stay and a

breathing spell from the City’s selective effort to put the Debtor out of business and to preserve

the Debtor’s relationships and assets for the benefit of its landlords, vendors, clients and other

creditors.

                 V.     SIGNIFICANT SERVICES PERFORMED BY NBC
                        DURING THE SECOND INTERIM PERIOD

           28.   The following is a summary description of the significant services performed by

NBC during the Second Interim Period. All of the professional services provided by NBC on

behalf of the Debtor during the Second Interim Period are set forth in its time records (Exhibit

“A” hereto) (the “Time Records”). The Court is respectfully referred to the Time Records for

specific details of the work performed by NBC during the Second Interim Period.

    A.        Litigation and Regulatory Matters

           29.   As previously noted, NBC served as special counsel on certain litigation matters

involving the Debtor’s sign locations which proceedings were previously at an appellate state.

The most significant efforts by NBC during the Second Interim Period were in connection with

the Debtor’s signs at 174 Canal Street, New York, New York and 538 10th Avenue, New York,

New York

              (i) Sign Location – 174 Canal Street, New York, New York

           30.   By way of background, this proceeding involved premises located at 174 Canal

Street, New York, New York (the “Premises”). OTR, pursuant to a lease agreement with the

owner (“Owner”) has a right to place advertising signage (the “Sign”) on the west wall (the

“Wall”) of the Premises. On September 12, 2012, DOB issued an “Intent to Revoke Approval(s)


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and Permit(s), Order(s) to Stop Work Immediately” (the “Letter of Intent”) which initiated a

DOB audit (the “Audit”) of the existing sign permit (“Permit”) for the Premises, issued in March

2008, which permitted a the repainting of an existing grandfathered advertising wall sign (the

“Sign”) at the Premises.

          31.   The Letter of Intent contained a stop work order (“SWO”) prohibiting OTR and

the Owner from performing work necessary to replace the existing painted Sign with a new

painted Sign as allowed by the Permit and as required by OTR’s obligations to its client.

    32.         On January 29, 2013, pursuant to a request from OTR, Phyllis Arnold, Esq., of

Bryan Cave, LLP, representing OTR in the effort to legalize its sign inventory, including the

Audit relating to this Sign, wrote to Edward Fortier, Esq. of DOB, to request that the SWO be

lifted while the Audit is pending. Ms. Arnold argued that the SWO was not authorized in the

absence of a violation of law or an imminent peril to life or property, neither of which was

present in this case. Mr. Fortier replied that “a decision is imminent. . . . [I]n the absence of

further evidence to support the continuation of the permit, it is to be revoked. As such, a lift of

the SWO at this time would be inappropriate.”

          33.   Mr. Fortier’s response made it clear that (a) DOB would shortly revoke the Permit

and (b) if the Court did not act, OTR would be irreparably harmed by its continued inability to

post a new Sign at the Premises by virtue of the SWO and the threat of additional violations

during the pendency of its appeal to the Board of Standards and Appeals (“BSA”) to challenge

DOB’s action. OTR believed that this legal limbo threatened its very viability.

          34.   Section 645 of the New York City Charter and §28-105.1 and §28-105.10 of the

Admin. Code give the Commissioner of DOB the power to issue a permit and also to revoke a

permit when it was issued by mistake or based on misinformation. Sections 648 and 666 of the



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Charter make those DOB final determinations appealable to the BSA. Admin. Code 28-207.2

authorizes issuance of an SWO in only two instances: where work is being done (a) in violation

of law or (b) in a dangerous or unsafe manner.

        35.     Although DOB thus informed OTR of its position it had not, at the time, issued its

final determination revoking the Permit. As soon as it did, OTR appealed to the BSA. But at

that moment, OTR was caught in a pending matter at DOB that had lasted some four months and

that it believed threatened to put it out of business.

        36.     OTR’s position was that the City and DOB had abused their powers by issuing an

SWO because there was no basis for finding that the existence of the Sign or the performance of

work required to replace it with a new Sign had been or would be done in violation of law or in a

dangerous or unsafe manner.

        37.     Under CPLR 7803(2), the New York Court has the authority to decide whether

“the body or officer proceeded, is proceeding, or is about to proceed without or in excess of

jurisdiction.

        38.     Under CPLR 7803(3), the New York Court has the authority to decide whether “a

determination was made in violation of lawful procedure, was affected by an error of law or was

arbitrary and capricious or an abuse of discretion…”

        39.     OTR retained NBC to bring a verified petition seeking an order pursuant to CPLR

7805, staying the City Respondents immediately and during the pendency of the BSA proceeding

from (i) enforcing the then current SWO or issuing and enforcing any further SWO that prevents

OTR from installing a Sign on the Wall, and (ii) issuing new violations or seeking to enforce or

prosecute existing violations against the Owner with respect to the Sign, on the ground that such




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actions would constitute actions in excess of their jurisdiction and would be arbitrary and

capricious.

        40.    NBC researched the issue and prepared a Verified Petition and Memorandum of

Law, showing that the City Respondents had no right to issue and had no right to enforce the

SWO because there was no basis for finding that the existence of the Sign or the performance of

work required to replace it with a new Sign had been or would be done in violation of law or in a

dangerous or unsafe manner. The only proposed bases were zoning violations, none of which

involve peril to life or property and all of which were refuted by the evidence that the Sign was

grandfathered under zoning. OTR argued in its papers that a continued SWO would cause OTR

irreparable harm by preventing it from satisfying its obligations to clients who contracted for the

posting of advertising signs on the Premises.

        41.    OTR further argued in the papers prepared by NBC that while Section 648 of the

City Charter generally requires an appeal to the BSA before relief can be sought in court,

exhaustion of administrative remedies was not required for several reasons. First, it was argued

that “where no factual issue is raised . . . action may be maintained to challenge the validity or

application of a particular statute without exhausting administrative remedies.” Second it was

argued that “[a]lthough the doctrine of exhaustion of administrative remedies normally requires

that a party first exhaust all available administrative channels before looking to the courts for

relief . . . , the exhaustion rule is not inflexible and need not be followed where to do so would

be futile or would cause irreparable injury.

        42.    NBC’s papers then went on, at length, to demonstrate how OTR would be

irreparably harmed because a failure to enjoin DOB’s enforcement of the SWO or issuance of

additional violations would make it impossible for OTR to satisfy its obligations to existing



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clients and thus threaten the very viability of its reorganization plan, the irreparable injury

standard has been met here.

        43.    NBC then went on to explain at length the applicable law concerning non-

conforming uses and laid out the evidence that the facts supported a finding that the Sign should

be grandfathered, demonstrating exhaustively the likelihood of OTR’s success on the merits.

        44.    The Article 78 Petition was filed in New York State Supreme Court. Thereafter,

NBC communicated at length with the DOB’s Law Department in an effort to negotiate a stay

pending the BSA appeal. DOB refused.

        45.    Accordingly, NBC scheduled a hearing with the New York court on its

application for a stay.

        46.    After the Petition was filed, DOB took the position that the Court’s July 19, 2012

Consent Order, and the parties' communications regarding DOB's issuance of violations as they

relate to the Consent Order, created a process by which OTR would legalize or else abandon its

signs, including filing the necessary documentation with DOB, and the steps OTR would take in

order to challenge DOB determinations that a sign was not legal (see paragraphs 1-10), arguing

in particular that Paragraph 12 of the order protected DOB's authority to continue to issue

violations with regards to OTR's signs, including the sign at issue in the instant proceeding,

providing that "[n]othing in this Conditional Order delegates or limits the authority of DOB,

BSA, LPC, or ECB to the extent such authority exists under applicable non-bankruptcy law.”

        47.    DOB further argued that OTR had given up its right to challenge DOB’s actions.

        48.    In response, NBC argued that while the Bankruptcy Court declined to grant such a

stay, the Bankruptcy Court never ruled that OTR could not seek a stay in State court.




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        49.    Unfortunately, after the Petition had been prepared and filed, and initial argument

had, as indicated above, taken place, OTR learned that one of its sign hangers had inadvertently

replaced the sign at issue. This action rendered moot the questions that had been central to the

Petition and, therefore, a decision was made to voluntarily discontinue the Article 78 proceeding.

       (ii)    Sign Location – Covenant House, New York, New York

        50.    OTR has a right to place advertising signage on the south wall (the “Wall”) of 538

10th Avenue (a/k/a 460 West 41st Street) (the “Premises”) pursuant to a lease with non-party

Covenant House New York (“Covenant House”), a New York not for profit corporation serving

homeless, runaway and at-risk youth.

        51.    On or about May 7, 2013, OTR filed an appeal (“BSA appeal”) with the New

York City Board of Standards and Appeals (“BSA”) from a Determination of DOB denying

OTR’s request to obtain a permit as a legal non-conforming use for an advertising sign (the

“Sign”) that has been present on the south Wall (the “Wall”) of the Premises since at least 2004.

        52.    Immediately thereafter, NBC was retained to prepare and file a Verified Petition

seeking an order, pursuant to CPLR 7805, staying the Respondents during the pendency of the

BSA Appeal from (i) preventing OTR, and the owner of the Premises, Covenant House New

York, a not for profit corporation serving homeless, runaway, and at risk youth, from placing a

painted Sign on the Wall similar to the ones that have existed historically or (ii) issuing new

violations or seeking to enforce or prosecute existing violations with respect to the Sign.

        53.    The basis of the Petition is that the DOB’s determination was “affected by an

error of law [and] was arbitrary and capricious.”

        54.    In its Petition, which the City Respondents have not yet answered, OTR shows

that it is not required to exhaust administrative remedies in this case because of the irreparable



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harm that will result to OTR and Covenant House if immediate relief is not afforded. OTR

argues, among other things, that since in or about June 2012, it has lost more than $400,000 in

lost rent, plus continuing monthly income of $45,000 per month in future lost rent and the loss of

its ability to serve its clients and to present itself to prospective customers as a vibrant company.

It further argues that the possibility that it will not be able to emerge from bankruptcy if it is

denied the use to the Sign is irreparable harm. OTR further shows that Covenant House has and

continues to be damaged as well. It has lost and continues to lose rent due and payable by OTR

of $8200 per month (from June 2012 to now, $82,000 in lost rental income has been suffered by

Covenant House) and, if OTR is unable to emerge from bankruptcy, Covenant House will lose

prepetition rent in the amount of $38,475.49 for a present total of over $120,000, which

continues to grow every month.

        55.    OTR’s Petition shows that on or about October 4, 2012, Raymond Lucchi, RA

filed an application seeking an approval and permit for a non-illuminated advertising sign

measuring 3,300 square feet on the south wall of the Building. The Application was disapproved

November 26, 2012.

        56.    Thereafter, OTR appealed the disapproval internally with the DOB by submission

of a ZRD-1 on or about December 18, 2012. OTR argued that the Sign should be found a lawful

non-conforming use based on Zoning Resolution §42-58 because it had existed in its present

form before December 13, 2000.

        57.    On or about April 9, 2013, DOB issued its Determination denying that request.

According to the DOB:

               The painted advertising sign erected in 2000 never obtained non-
               conforming status because . . . it was erected and existed in
               violation of then-ZR 42-53 . . . [which prohibits advertising signs] .
               . . in Manufacturing Districts . . . within 200 feet of an arterial

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               highway . . . Beyond 200 feet from such arterial highway . . . .
               an advertising sign shall be located at a distance of at least as many
               linear feet therefrom as there are square feet of surface area on the
               face of such sign."

               The [Sign] was located within 200 feet and within view of an
               arterial highway.

               . . . .

               Additionally, even if the [Sign] did not violate the then-ZR 42-53
               prohibition on advertising signs within 200 feet of and within view
               of arterial highways, the advertising sign would still have been
               unlawfully erected and existing in the M1-5 district because it
               violated the surface area requirements of then-ZR 42-53 for
               advertising signs beyond 200 feet of and within view of arterial
               highways . . . . [because it] can be viewed from a specific point
               on the arterial highway in any direction, 360 degrees (i.e. whether
               it is the driver of a car who is facing forward, or a passenger in the
               back seat of a car facing to the side or the rear, or a passenger in
               the back seat of a convertible facing the side or rear, etc.) . . . .
               Therefore, the [Sign] would have been unlawfully erected and
               existing in the M1-5 zoning district based on its' surface area of
               3300 square feet and as such, the [Sign] could not have obtained
               lawful non­conforming status on this basis alone.

               Finally, [assuming the arterial highway issue were not dispositive],
               because ZR 42-58 only grants non-conforming status to those signs
               erected with a permit and the Sign on and prior to December 13,
               2000 [was a painted sign that did not require a permit], non-
               conforming status [cannot be granted on that basis].

        58.    OTR goes on, in its Verified Petition to show that it is entitled to reversal by the

BSA because DOB was (a) wrong in subjecting the Sign to treatment as an arterial highway sign,

and (b) therefore, completely ignored the fact that the Sign is entitled to legal non-conforming

status under ZR 52-11.

        59.    On July 2, 2013, NBC and DOB’s counsel appeared for argument as to whether

an interim stay should be granted.




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          60.   Judge Rackower sided with the City, ruling that the Debtor had not exhausted its

administrative remedies prior to appealing to Supreme Court.

          61.   Accordingly, the Debtor then continued its BSA appeals, which have concluded.

          62.   The Debtor now intends to commence a new Article 78 proceeding in State Court.

          63.   In furtherance of these efforts expended during the Second Interim Period, NBC

continued to pursue various matters before BSA and other administrative forums on behalf of the

Debtor.

                 VI.      STATUTORY BASIS FOR RELIEF REQUESTED

          64.   The statutory basis for relief sought herein are sections 330 and 331 of Title 11 of

the Bankruptcy Code and Bankruptcy Rule 2016, as supplemented by the Local bankruptcy

Rules.    Under sections 330(a)(3)(A) of the Bankruptcy Code, a Court shall consider the

following factors in determining whether the amount of compensation requested is reasonable:

                (A)    the time spent on such services;

                (B)    the rates charged for such services;

                (C)    whether the services were necessary to the administration of, or beneficial
                       at the time at which the service was rendered towards the completion of, a
                       case under this title;

                (D)    whether the services were performed within a reasonable amount of time
                       commensurate with the complexity, importance and nature of the
                       problem, issue, or task addressed; and

                (E)    whether the compensation is reasonable based on the customary
                       compensation charged by comparably skilled practitioners in cases other
                       than cases under this title.

See Section 330(a)(3)(A) of the Bankruptcy Code.

          65.   The philosophy underlying the adoption of section 330 of the Bankruptcy Code is

equally applicable to interim compensation. The Bankruptcy Code provides that the same

consideration apply to making interim awards of compensation under section 331 as to final
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allowances under section 330. See In re Public Service Co. of New Hampshire, 93 B.R. at 826;

In re International Horizons, Inc., 10 B.R. 895 (Bankr.N.D.Ga. 1981). Section 331 of the

Bankruptcy Code provides:

                 A trustee, an examiner, a debtor’s attorney, or any professional
                 person employed under section 327 or 1103 of this title may apply
                 to the court not more than once every 120 days after an order for
                 relief in a case under this title, or more often if the court permits,
                 for such compensation for services rendered before the date as is
                 provided under section 330 of this title. After notice and a hearing,
                 the Court may allow and disburse to such applicant such
                 compensation or reimbursement.

11 U.S.C. §331.

        66.      It is respectfully submitted that the compensation and expenses sought herein

should be allowed based on the above standard. The rates charged are typical of other

comparably skilled practitioners, and the amount of time spent was reasonable in light of the

nature of the issues presented and the complexity of the administration of the Debtor’s case. The

services provided were both necessary and beneficial to the administration of the case, the estate

and the Debtor’s creditors.

                 WHEREFORE, the Debtor respectfully requests that the Court enter an order

granting this Application in its entirety, and for such further and different relief as is just, proper

and equitable.

Dated: New York, New York
       October 28, 2013
                                                       Goetz Fitzpatrick LLP
                                                       Attorneys for the Debtor

                                                  By: /s/Scott D. Simon
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